Case 1:24-cv-01102-BAH Document1 Filed 04/15/24 Page 1of8

ENTER

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APR 1 5 2024

IN THE UNITED STATES DISTRICT COURT ¥ AT BALTIMORE

ERK, U.S. D

C
FOR THE DISTRICT OF MARYLAND “DISTHGT Of wag Sou

Jerome Andrew Burnett

(Write the full name of each plaintiff who is filing

this complaint. If the names of all the plaintiffs
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the full list of names.)

~against-

BJ’s Wholesale Club, INC.

(Write the full name of each defendant wha is
being sued. If the names of all the defendants
cannot fit in the space above, please write “see
attached” in the space and attach an additional
page with the fuii list of names.)

DEPUTY

Complaint for _ co Case
Case No. Bah 24 CV ! 102

{to be filled in by the Clerk’s Office)

Jury Trial: & Yes O No
(check one)
Case 1:24-cv-01102-BAH Document1 Filed 04/15/24 Page 2 of 8

E The Parties to This Complaint
A. ‘The Plaintiffs}

Provide the iformation below for cach plaintiff named in the complaint. Attach

additional pages if needed.
Name
Street Address
State and Zip Code
E-mail Address

B. The Defendant(s}

Jerome Andrew Burnett

70 Hobart Court

Randallstown, Baltimore

Maryland 21133-2468

443-728-8122

romeze2b4@gmail.com

Provide the information below for each defendant named m the complain,
whether the defendant is an individual, a government agency, an organization, or
avotporation. For an individual defendant, include the person’s job or fitle Gf
known). Attach additional pages if aceded.

Defendant No. i

Name

Job or Title

(ifknown}

Street Address

City and County

State and Zip Code
oo -—- Telephone Number

E-mail Address
Gf known}

BJ's Wholesale Club, INC.

55 Music Fair Road

Owings Mils, Baltimore

Maryland, 274417

410-363-0005

Case 1:24-cv-01102-BAH Document1 Filed 04/15/24 Page 3 of 8

Hefendant Ne. 2
Name NIA

Jab or File

if known}

ity and County

State and Zip Code

Telephone Number

E-mail Address

(if known)

Defendant Ne, 3
Name N/A

Jeb ar Tale

Gf known)
Sireet Address

City and County

Siaie and Zip Code

Telephone Number

E-mail Address

tif known}

Deicniant No. 4
Narae NUA

iob or Title

_  — Gfknews)

City and County

State and Zip Cede

Gf keown)}

{Ff there are mare than four defendants atiorh an additional page
providing the same information for each additional defendant.)

Case 1:24-cv-01102-BAH Document1 Filed 04/15/24 Page 4of8

Beccntiostitath comm
Basts fer eae SEEN ARSED

Federal courts arc courts of imited purisdiction (limited power}. Generally, only two
types of cases can be heard in federal court: eases ieveiving a federal question and cases
involving diversity of citizenship of the parties. Under 28 U.S.C. § 1331, 2 case arising
undes ihe United Sisies Constituion oy federal laws or imeaties is a Soderal aucction case.
Under 28 USL. § 1332, a case in which a citizen of one State sues a citizen of another
State or nation and the anzount at stele is sare than $75,000 is a diversity of citizenship
case. Ina diversity of cluzenchip case, no defendant may be a citizen af the same State
as any plamii,

What is the basis for federal ceuct prisdiction? (check all tat appiy}
Federal gestion {] Diversity of citizenship
Fill out the paragraphs in this section that apply to this case.

A, 7 the Basis tor Jorisdiciion is a Federal Geestisn

List the specific federal statutes, federal irenties, and/or provisinns of the United
U.S. Constitutional 14th and 7th Amentment / Americans with Disabilities Act 7080 (ADA)
2 . “Tis §] unter the ADA 189

Federal Rute U.S.C. 38 / 28 U.S. Code Subsection 133+ / 28 U.S.C. Subsection 1391

B. _ Ef the Basis for Jurisdiction Is Diversity of Ciiizenship
i, Vie Plaintifigs)
a if the plaintiff is an individual

The plaauifi, faane} WA _ 5 acitizen of

b. if the plaieet? is 2 comporation

The pinintiff, fname) NIA . is incomormied
under the lows of the State of (uame) NIA 2

and has its principal place of business in the State of fame)

(if mere than ane plaintiff is named im the complaint, attach an additional
pase providing the same information for cach additional plaintiff}

4

Case 1:24-cv-01102-BAH Document1 Filed 04/15/24 Page 5of8

2.

3.

The Defendant(s}

a.

f the defendant is an individnal

Fhe defendant, ame} NA _ » is a citizen of
the State of faame} NA . Orisa citizen af
(Gareign nation) NIA .

if the defendant is a corporation

The defendant, (aame}) NIA » is
incorporated under the laws of the State of Grane)

NIA _____, and has its principal place of
business in the State of feamie) N/A . Gris
incorporated under the laws of Gorzign nation)

NIA , and has its principal place of

business i (rani? NIA

(if more than one defendant is named in the complaint, attach an
additional page providing the same information for each additional
defendant}

The Amonnt in Controversy

The amon in controversy—ithe amount the platvtiff claims the defendant
owes or the amount at sinke—is more than $75,008, not counting interest
and costs of court, because (explain):

Case 1:24-cv-01102-BAH Document1 Filed 04/15/24 Page 6 of8

HE Statement of Claim

Write a short and plain statement of the claim. Do apt make lesal arsumenis. Sints as
briefly as possible the facts showing that cach plaintiff is entitled to the damages or other
relicf sought. State how each defendant was involved and what cach defendant did that
caused the plaintiff harm er vielated the plaintiffs sights, including the dates and places
of that invelyement er conduct. more than one claim is asserted, aumber each claim
and write a short and plain statement of cach claim in a separate paragraph. Attach

On 08/04/2627 - The Defendant {B.'s Wholesale Club,INC.) vielated
Occupational Safety and Health Administration rules 1910.136 and_
1926.96. Many Empfoyees were not wearing the proper Personal —
Protective Equipment (PPE / Steel toe shoes} whilst operating “heavy
- fifi equipment” (Reach truck, The istes with high steel racks with
items which can fall and over 500 ibs. caused concern for OSHA nile
1910.136 te be adhered to. | alerted OSHA about the safely issues
and they have not fixed the issue, | was in contact with Tamika DeCoursey ai
OSHA. 1 am not asking the cours io de OSHA's job, | am asking that
the court adheres fo federal law ard grant a jury trial for violations to
The Americans with Disabilities Act 1990 (ADA) Tide MI under the ADA 1990.

| am 2 person wham is recagnized by the court as being disabled under federal
law, and the violations to safety has caused me not fa enjoy my
“purchasing power granted by federal ews. 1 have marie written request the?
the defendant adhere fo federal safety laws due to the fact that i suffer from
Posi iraumatic siress disorder (PTSD) and th issues ai the public business has
left me with mistrusi - paranoia and increased arsdety which makes ii
impossible to be a cusiomer ai the defendant anymore, The Defendant's willikd
discrimination towards my request for ADA public accornmadations for safety
rules to be adhered to has placed me in a difficulty in trusting many
businesses anymore. The defendant has had aver 890 days to adhere in my
safety request to adhere to all of OSHA sules, but they have not adhered is any
disability. The defendant is a public business and should adhere to _
ail safety requesi to accommodate disabled individuals. li is ail
discrimination and violations to title Hi under the ADA 1990.

Case 1:24-cv-01102-BAH Document1 Filed 04/15/24 Page 7 of 8

¥¥. Relief

State briefly and precisely what damaves or other relief the plaintiff asks the court fo
order. De net make legal arguments. Include any basis fer claimina that the wrongs
alleged are continuing at the present time. Include the amounts of any actual damages
claimed for the acts alleged and ths basis fox these amounts. Include any punitive or
exemplary damages claimed, the amounts, and the reasons you claim you are entitled to
actual or punitive moncy damages. Fer any request fer injunctive relief, explain why
Monetary damaces ai a later time would not adequately compensate you for the mjuries
you sustained, are sustaming, or will sustain as a result of the events described above, or
Why such compensation could net be measured.

Defendant employs over 500 employees / they should pay the highest punitive
damages for Title if under the ADA 1996 violations of $75,006.06
and $156,006.06 for any other days that they nave viclated the ADA.
Pay me $1,090,080.00USD for ongoing mente! health and physical health issues
for nol feeling safe at the defendant's business/not able to “power of purchase.”

Case 1:24-cv-01102-BAH Document1 Filed 04/15/24 Page 8 of 8

Certification and Clasing

Under Federal Rate of Civil Procedure 11, by signing below, I certify to the best of my
knowledge, information, and belief that this complaint: {1} is not being presented for an
improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
cast of ligation; {2} is supporied by existing law er by a nonfrivelous argument for
extending, modifying, or reversing existing law, G) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support
after a reasonable epporiimity fer further investigation or discovery; and {4} the
complaint otherwise complies with the requirements of Rule 11.

Aa

For Parties Without an Attarney

] agree te provides the Clerk’s Office with any changes to my address where case-
related papers may be server. I understand that my failure to keep a current
address on file with the Clerk’s Office may result in the dismissal of my case.

Date of signing: 77/3 wet

iff more than one plaintiff is named In the complaint, attach an additional
cerlification and signature page for each additional piaintiff }

Fer Atterneys

Signature of Attorney ~~
Printed Name of Attomey NIA _ ae

Bar Number N/A

Name of Law Farms NIA

Address NIA

Felepkone Number N/A

Email Address NIA

